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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

S.P.S., ex rel. SHORT, et al.,
                                                   CIVIL ACTION NO.
             Plaintiffs,
                                                   1:19-CV-04960-AT
v.

BRAD RAFFENSPERGER, et al.,

             Defendants.


        PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
      Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiffs S.P.S., ex rel.
NATALIE SHORT, EDWIN PRIOR, AILEEN NAKAMURA, ANGIE JONES,

DNC SERVICES CORP., d/b/a DEMOCRATIC NATIONAL COMMITTEE,
DSCC, DCCC, DEMOCRATIC PARTY OF GEORGIA, INC., and PRIORITIES
USA (collectively, “Plaintiffs”), for the reasons set forth in the memorandum of law

filed concurrently with this motion, and as supported by the materials submitted
therewith, respectfully move for an Order:
          1. Preliminarily enjoining Defendant Secretary of State of the State of

             Georgia Brad Raffensperger (the “Secretary”) and Defendants Rebecca
             Sullivan, David Worley, Seth Harp, and Anh Le, members of the
             Georgia State Election Board (“SEB”), from implementing or

             enforcing O.C.G.A. § 21-2-285(c) (the “Ballot Order Statute”), which
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          mandates that the political party of the last-elected Governor be listed
          first on all general election ballots for all races throughout Georgia; and

       2. Requiring the Secretary and SEB members to take all necessary steps,
          including promulgating any rules and regulations consistent with this
          Court’s Order, to rotate the ordering of candidates of the major political

          parties, as defined by O.C.G.A. § 21-2-2(25), so that the candidates of
          each major political party are listed first in all races for which they have
          a candidate on an approximately equal number of ballots, or,

          alternatively, requiring the Secretary and SEB members to use a ballot
          order system that gives the similarly-situated candidates of the major
          political parties an equal opportunity to appear on the top of the ballot

          in each election and each race, to take effect before the end of the
          preparation of ballots for the 2020 general election.


Dated: November 18, 2019                    Respectfully submitted,

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                         CERTIFICATE OF COMPLIANCE
         I hereby certify that the foregoing Plaintiffs’ Complaint for Injunctive and

Declaratory Relief has been prepared in accordance with the font type and margin

requirements of L.R. 5.1, using font type of Times New Roman and a point size

of 14.

Dated: November 18, 2019                        Adam M. Sparks
                                                Counsel for Plaintiffs
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on November 18, 2019, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.

Dated: November 18, 2019                        Adam M. Sparks
                                                Counsel for Plaintiffs
